                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 In re:                                              Bankruptcy No. 18-21983-CMB
 SHANNI SUE SNYDER,
        Debtor.                                      Chapter 7


 CHARLES O. ZEBELY, JR.,                             Related to Doc. Nos. 66, 76, 84

      Trustee/Movant,
 v.

 SHANNI SUE SNYDER

       Debtor/Respondent.


             SETTLEMENT AND CERTIFICATION OF COUNSEL
               (CHRISTINE BIROS AND CHARLES O. ZEBLEY)
      REGARDING TRUSTEE’S MOTION TO APPROVE SETTLEMENT OF THE
              EXEMPTION OF DEBTOR’S ASSETS [DOC. NO. 66]

The undersigned hereby certifies that agreement has been reached with Charles O. Zebley, Jr., the
Chapter 7 Trustee, regarding the Expedited Motion for Relief from the Automatic Stay filed on
December 28, 2022 and the Trustee’s Motion to Approve Settlement of the Exemption of the
Debtor’s Assets filed on December 8, 2022.

The signature requirements of W.PA.LBR 5005-6 have been followed in obtaining the agreement
of all parties and is reflected in the attached document.

The undersigned further certifies that:

      X     An agreed order and a redline version showing the changes made to the order
            originally filed with the court as an attachment to the motion is attached to this
            Certificate of Counsel. Deletions are signified by a line in the middle of the original
            text (strikeout) and additions are signified by text in italics. It is respectfully requested
            that the attached order be entered by the Court.

            No other order has been filed pertaining to the subject matter of this agreement.

            The attached document does not require a proposed order.


Dated: February 7, 2023
                                                       BERNSTEIN-BURKLEY, P.C.
By: /s/ Kirk B. Burkley
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   Lara S. Martin (PA ID No. 307272)
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  Counsel for Christine Biros
